Case 2:05-cr-20108-SH|\/| Document 12 Filed 07/07/05 Page 1 of 2 Page|D 8

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IN THE UN[TED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA

V.

ALFRED JAMISON 05€r20108-Ma

 

ORDER ON ARRAIGNMENT

This cause came to be heard on 95 § g z ZQQS the United States Attorney
for this district appeared on behalf of the g emme , an the defendant appeared in person and with

counsel:

NAMEQ_M who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

 

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, (not having bond) (being a stat;pfl§ner) (being a federal prisoner)

The defendant, who is not in custod , may stand on his present bond.
(bein g held without bond pursuan£;l::;f 1984), is remanded to the custody of the U.S. Marshal.

/_____.
UNITED STATES MAGISTRATE JUDGE

CHARGES - 18:922(g)
firearms

Attorney assigned to Case: S. Johnson

Age: %Z

This document entered on the docket sheet in compliance
with ama 55 and/er a2(b) FHch on h'/ ' /

 

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Honorable Samuel Mays
US DISTRICT COURT

